          Case 1:15-cv-01686-RC Document 11 Filed 12/30/15 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


YTL POWER GENERATION SDN BHD,

                       Petitioner,
                                                           Case No. 15-cv-01686 (RC)
               v.

PETROLIAM NASIONAL BERHAD,

                       Respondent.


                                  NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that the undersigned attorney, Lawrence H. Martin, who is a

member in good standing of the bar of this Court, hereby appears as counsel for Respondent

Petroliam Nasional Berhad. This appearance is limited to the purpose of the Joint Motion to

Dismiss this action with prejudice, filed this date by Petitioner YTL Power Generation SDN

BHD and Respondent. Until such time as this action has been finally dismissed with prejudice

by this Court, Respondent reserves all of its defenses in connection with this action, including

but not limited to all defenses regarding service of process, jurisdiction, venue, and the merits of

Petitioner’s Petition to Confirm Arbitration Award.

                                                      Respectfully submitted,

                                                      /s/ Lawrence H. Martin
                                                      Lawrence H. Martin
                                                      FOLEY HOAG LLP
                                                      1717 K Street NW
                                                      Washington, D.C. 20006
                                                      Telephone: (202) 223-1200
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Dated: December 30, 2015
              Case 1:15-cv-01686-RC Document 11 Filed 12/30/15 Page 2 of 2



                                    CERTIFICATE OF SERVICE

            I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                                          /s/ Lawrence H. Martin
                                                         Lawrence H. Martin




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